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                                                                     Settlement Date: December 17th, 2018
                                                                     Time: 10:00 A.M.
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
IN RE:                                                               Chapter 13
                                                                     Case No. 17-37123 CGM
EDWARD E. MORITT,
                                                                     NOTICE OF SETTLEMENT
                                         Debtor(s)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    PLEASE TAKE NOTICE, that an Order, a true copy of which is annexed

hereto, will be presented for signature to the Hon. Cecelia G. Morris., United States Bankruptcy

Judge, on the 17th          day of December, 2018 at 10:00 A.M., in the Judge's Chambers, United

States Bankruptcy Court, 355 Main Street, Poughkeepsie, New York.

                    PLEASE TAKE FURTHER NOTICE , that objections, if any, to the proposed

Order must be made in writing and received in the Bankruptcy Judge's chambers and by the

undersigned not later than three days prior to the return date thereof, and unless objections are

received by that time, the within order may be signed.

Dated: White Plains, New York
       November 29th, 2018
                                                                      /s/ Krista M. Preuss
                                                                     Krista M. Preuss (KMP7299)
                                                                     Chapter 13 Trustee
                                                                     399 Knollwood Road
                                                                     White Plains, New York 10603
                                                                     Chapter 13 Tel. 914-328-6333
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                                                          Pg 2 of 3


   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
   IN RE:                                                          Chapter 13
                                                                   Case No. 17-37123 CGM
   EDWARD E. MORITT,
                                                                   ORDER DISMISSING CASE


                                            Debtor
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                       It appearing that the above named debtor filed an original petition under

   Chapter 13 of the Bankruptcy Code and relief was ordered on December 18, 2017; and it

   further appearing that upon the motion of the Chapter 13 Trustee dated March 2, 2018 to

   dismiss the case pursuant to 11 U.S.C. §1307(c)(1) on the ground of unreasonable delay

   that is prejudicial to creditors and (c)(4), for failure to remit payment as required under 11

   U.S.C. §1326; and §521(e) (2)(A)(i) and (2)(B) for failure to submit the required

   documentation; and §109(e) for failure to qualify under the parameters of Chapter 13,

   and after a hearing held on November 27, 2018 it having been determined that it is in

   the best interests of creditors and the estate to dismiss this case.

                       NOW IT IS

                       ORDERED, that the case of the above named debtor be, pursuant to

   11 U.S.C. §1307(c)(1) and (c)(4) and §521(e) (2)(A)(i) and (2)(B), and §109(e),

   dismissed.
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   UNITED STATES BANKRUPTCY COURT
   SOUTHERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
   IN RE:                                                                   Chapter 13
                                                                            Case No. 17-37123 CGM
   EDWARD E. MORITT,


                                                      Debtor(s)
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                            CERTIFICATE OF SERVICE

                       Lois Rosemarie Esposito duly certifies:

                       I am not a party to the action herein, I am over the age of 18 years and

   reside in the County of Westchester, State of New York.

                       On November 29th, 2018 I served a true copy of the within document, to

   the herein listed parties at the address(es) designated for that purpose, by mailing same in

   a properly sealed envelope with postage prepaid thereon, in an official depository of the

   United States Postal Service within the State of New York to the following:

             Edward E. Moritt
             10 Cox Road
             Pawling, New York 12564

             Devon Salts, Esq.
             1542 Route 52
             Fishkill, New York 12524

             Wells Fargo Bank, NA
             c/o Woods Oviatt Gilman, LLP
             700 Crossroads Bldg.
             2 State Street
             Rochester, New York 14614

             Wells Fargo Bank, NA
             Home Equity Group
             One Home Campus
             Des Moines, Iowa 50328
                                                               /s/ Lois Rosemarie Esposito
                                                                   Lois Rosemarie Esposito
